Case 2:04-cr-20432-.]PI\/| Document 29 Filed 04/25/05 Page 1 of 3 Page|D 37

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IN THE UNITED STATES DISTRICT COURT n W:Wf
FOR THE WESTERN DISTRICT OF TENNESSEE inw{do
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA
Plaintiff,

Criminal No. ©:L- .,2 O£{z Z.Ml

(30-Day Continuance)

 

 

 

 

~_/\_/`_,v`,/V~_¢\_,V~_,V\_,\_,`_,~_/`_/VV`__,V

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, MaV 27, 2005, with trial to take place on the June,
2005 rotation calendar With the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report

date this 22nd day of April, 2005.

Thw docxmentenn¥ed onthe docketsh elh1com Hance
with F'mle 55 andfor 32fb) FHCrP on ___LEaz/]_"S_S__ 52 q

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SO oRDERED this 22mci day of April, 2005.

@ r>m©.QQb

 

JON PHIPPS MCCALLA
UN 'I`ED S'I'ATES DISTRICT JUDGE

 

§§ iamer

Assistant United Sc§¥es Attorney

 

 

 

Counsel for Defendant(s)

   

UNITED sTATE DISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
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William D. Massey
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38128

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38128

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

